          Case 1:24-cv-06711-NCM-JAM Document 23 Filed 07/08/25 Page 1 of 1 PageID #: 46
'r,'   > ;;;''"USI\/l-285: i^,a. 5-p^rt'form." FllI'dut th^ 5 copies; ;,Sigh aS;needed;arid,route as specified below.
          U.S. Department of Justice                                                                     PROCESS RECEIPT AND RETURN
          United States Marshals Service                                                                 See "Instructions for Service ofProcess bv U.S. Marshal"


           PLAINTIFF                                                                                                                    COURT CASE NUh4BER

           Ricco D. Slade                                                                                                              1:24-cv-06711-NCM-JAM
           DEFENDANT                                                                                                                    TYPE OF PROCESS

           City of New York ct al                                                                                                       0, S, C
                                 NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN


                      AT
                            {
               SER\TE ^ Detective Julio Tejada, Shield No. 2074
                                 ADDRESS (Street or RFD, Apailmeni No.. City, State and ZIP Code)

                                 One Police Plaza, Room 1 lOA New York, NY 10038
           SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW                                                      Number of process to be
                                                                                                                                   served with this Form 285          3

                          1 PRO SE Ricco D. Slade
                            24B2450                                                                                                Number of parties to be
                                                                                                                                   served in this case                1
                            Auburn Correctional Facility
                            P.O. Box 618
                                                                                                                                   Check for service
                          1 Auburn, NY 13021                                                                                       on U.S.A.


               SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE anclude Business and Alternate Addresses.
               All Teieptt'oneNunibers, and Estimated Tinies Available for Service):
        Fold                                                                                                                                                                               Fold

                                                                                                                                        U.S.
                                                                                                                                                                                       Y
                                                                                                                                       *
                                                                                                                                                 jyt 0 8 2025                       *

           Signature of Attorney other Ojiginator requesting service on hehalf of:                       Kl PLAINTIFF
                                                                                                                                TELEPHONE NUl


                                                                                                         □ DEFENDANT                                                      5/20/25
                                                                  mm                                                            (718)613-2610

                SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
           I acknowledge receipt for the total         Total Process'   District of      District to         Signature of Authorized USMS Deputy or Clerk                       Date
           number of process indicated.                                 Origin           Serve       :
           (Sign onlyfor USM285 if more
           than one USM 285 is submitted)               . \                              No.Si/^
           1 hereby certify and return that Ihave personalty served, d have legal evidenced seivicc, ED have executed as sho^ inWemarks". the process described
           on th^dividual, company, corporation, etc., at the address sho\\'n above on the on the individual, company, corporation, etc. shown at the address inserted below.
                   I hereby certiiy and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)
           Name and title of individual arved (if not shown abo^                                 [                          //O                A person of suitable age and discretion

                                                                                       n. irp M
                                                                                                                                               then residing in defendant's usual place
                                                                                                                                               of abode

                                   i/t* AiiTovovtt thnbi thmoft                             '
           Address (complete only different than shown above)                                                                             Dat^           /            Time


                                                                                                                                         7/j/l //J'j' □
                                                                                                                                                                                             am

                                                                                                                                                                                             pm



                                                                                                                                         Signat^^U.Sy^^^l^l^Dep^^^
           Service Fee           Total Mileage Charges Forwarding Fee                 Total Charges          Advance Deposits     Amount owed to U.S. Marshal* or
                                 including endeavors)                                                                             (Amount nf Refund*)


                                                                                                                                                              $0.00
           REMARKS:




           memmm                     1. CLERK OF THE COURT                                                                                                   PRIOR EDITIONS MAY BE USED
                                    2. USMS RECORD
                                    3. NOTICE OF SERVICE
                                                                                                                                                                                     Form USM-285
                                    4. BILLING STATEMENT*: To be returned to the U.S. Marshal with payment,
                                                                                                                                                                                       Rev. 12/15/80
                                        if any amount is owed. Please remit promptly payable to U.S. M^hal.
                                    5. ACKNOWLEDGMENT OF RECEIPT                                                                                                                    Automated 01/00
